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UNITED STATES COURT OF INTERNATIONAL TRADE



MONTEAU INC. ,

                              Plaintiff,

                              V.


                                                                     Court No. 21-00175
UNITED STATES OF AMERICA;
OFFICE OF THE UNITED STATES TRADE
REPRESENTATIVE; KATHERINE C. TAI, U.S.
TRADE REPRESENTATIVE; U.S. CUSTOMS AND
BORDER PROTECTION; TROY MILLER, ACTING
COMMISSIONER OF U.S. CUSTOMS AND BORDER
PROTECTION,

                              Defendants.




                                           COMPLAINT

       Plaintiff, Monteau, Inc., by and through its attorneys, alleges and states as follows:

       1.      This action concerns Defendants' unlawful imposition and assessment of

tariffs/duties on products imported from the People's Republic of China ("China") under Section

301 of the Trade Act of 1974 ("Trade Act").

       2.      This Complaint focuses on Defendants' so-called "List 4" tariffs/duties.

       3.      List 4 is untimely because it was not issued within 12 months of the United States

Trade Representative's (USTR) investigation into China's unfair intellectual property policies and

practices pursuant to Section 301 (19 U.S.C. § 2411). List 4 is not an authorized modification of

earlier timely Section 301 duties under Section 307 of the Trade Act (19 U.S.C. § 2417) because it

was based on China's retaliatory duties, not the intellectual property policies and practices

investigated by the USTR, and increased, rather than delayed, reduced or terminated, the actions

Defendants had already taken.
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       4.        In addition, List 4 violates the Administrative Procedure Act (APA) because the

USTR failed to provide sufficient opportunity for public comment, failed to consider comments

and relevant factors, and failed to base its decisions on a factual record. Rather, the USTR's

predetermined decision to implement List 3 and/or List 4 was arbitrary and capricious.

        5.       Accordingly, the Court should set aside Defendants' ultra vires imposition and

subsequent collection of List 4 tariffs/duties. Further, the Court should order Defendants to refund,

with interest, any tariffs/duties paid by Plaintiff assessed pursuant to List 4.

                                          JURISDICTION

       6.        Pursuant to 28 U.S .C. § 158l(i)(l)(B), this court has subject matter jurisdiction

over this action. This statute confers "exclusive jurisdiction" to this court over "any civil action

commenced against the United States, its agencies, or its officers, that arises out of any law of

the United States providing for ... tariffs, duties, fees, or other taxes on the importation of

merchandise for reasons other than the raising of revenue." 28 U.S.C. § 158l(i)(l)(B).

                                              PARTIES

        7.        Plaintiff is an importer that filed numerous entries for products which are subject

to the additional ad valorem tariffs/duties under List 4A and those tariffs/duties are paid.

         8.       Defendant United States of America received the disputed tariffs/duties and is the

statutory defendant under 5 U.S.C. § 702 and 28 U. S.C. § 158l(i)(l)(B).

        9.        Defendant the USTR is an executive agency of the United States charged with

investigating a foreign country's trade practices under Section 301 of the Trade Act and

implementing appropriate responses, subject to the direction of the President. The USTR conducted

this Section 301 investigation and made numerous decisions regarding List 4.

         10.      Defendant Katherine C. Tai, currently holds the position of USTR and serves as the

director of the Office of the USTR.




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         11.     Defendant U.S . Customs and Border Protection (CBP) is the agency that collects

duties on imported merchandise entered into the United States. CBP collected payments made by

Plaintiff for List 4A tariffs/duties.

         12.     Defendant Troy Miller is the Senior Official Performing the Duties of the

Commissioner ofCBP. In this capacity, he oversees CBP' s collection of duties paid by the Plaintiffs

pursuant to List 4A.

                                             STANDING

         13.     Plaintiff has standing because it is "adversely affected or aggrieved" by agency

action within the meaning of the APA. 5 U. S.C. § 702; see 28 U.S.C. § 2631(i) ("Any civil action

of which the Court of International Trade has jurisdiction .. . may be commenced in the court

by any person adversely affected or aggrieved by agency action within the meaning of Section

702 of title 5. "). Tariffs/duties imposed by Defendants pursuant to List 4 adversely affected

and aggrieved Plaintiff because it was legally required to pay these unlawful duties.

                                    TIMELINESS OF ACTION

         14.     A plaintiff must commence an action under 28 U.S.C. § 158l(i)(l)(B) "within two

years after the cause of action first accrues." 28 U.S.C. §2636(i).

         15.     The instant action contests Defendants' imposition of duties on products covered

by List 4. Plaintiff's claims accrued at the earliest on August 20, 2019, when the USTR published

notice of List 4 in the Federal Regi,Ster. Therefore, Plaintiff has filed this action timely.

                                         RELEVANT LAW

         16.     Section 301 of the Trade Act authorizes the USTR to investigate a foreign country's

trade practices. 19 U.S.C. § 241l(b). If the investigation reveals an "unreasonable or

discriminatory" practice, the USTR may take "appropriate" action, such as imposing tariffs/duties

on imports from the country that administered the unfair practice. Id. § 241 l(b), (c)(l)(B).




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          17.   Section 304 of the Trade Act requires the USTR to determine what action to take,

if any, within 12 months after the initiation of the underlying investigation. Id. § 2414(a)(l)(B),

(2)(B).

          18.   Section 307 of the Trade Act, in pertinent part, allows the USTR to "modify or

terminate" a previous action appropriately taken pursuant to Section 301 of the Trade Act either

when the "burden or restriction on United States commerce" imposed by the investigated foreign

country's practice has "increased or decreased" or when the action "is no longer appropriate." Id.

§ 2417(a)(l)(B), (C).

                                       PROCEDURAL IDSTORY

          19.   On August 14, 201 7, President Trump directed former US TR Lighthizer to consider

initiating a targeted investigation concerning China's laws, policies, practices, and actions related

to intellectual property, innovation, and technology pursuant to Section 30l(b) of the Trade Act.

          20.   On August 18, 2017, the USTR formally initiated an investigation into whether

acts, policies, and practices of the Government of China related to technology transfer, intellectual

property, and innovation are actionable under Section 301(b) of the Trade Act.

          21.   On March 22, 2018, the USTR released a report announcing the results of its

investigation into China's trade policies and practices. The USTR found that certain acts, policies,

and practices of the Chinese government related to technology transfer, intellectual property rights

(IPR), and innovation (hereinafter "unfair technology and IPR trade policies and practices") are

unreasonable or discriminatory and burden or restrict U.S. commerce.

          22.   On April 6, 2018, the USTR published notice of its intent to impose an additional

duty of 25 percent on a list of products of Chinese origin under Section 301 in response to its

findings about China' s unfair technology and IPR trade policies and practices. The products on the

proposed list covered 1,333 tariff subheadings with a total value of approximately $50 billion of

estimated annual trade value for calendar year 2018, which, the USTR explained, was


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commensurate with an economic analysis of the harm caused by China's unfair technology and

IPR trade policies and practices to the U.S. economy, as determined by the USTR's Section 301

investigation.

        23.      On June 20, 2018, the USTR published notice of its final list of products,

commonly known as "List 1," imposing an additional duty of25% ad valorem on those products

in response to China's unfair technology and IPR trade policies and practices as determined by

the USTR. The USTR narrowed the proposed list in the April 6, 2018 notice to 818 tariff

subheadings, with an estimated annual trade value of $34 billion.

        24.      On August 16, 2018, the US TR published notice of a second final list of

products, commonly known as "List 2," which were subject to an additional duty of 25% ad

valorem. This list is comprised of 279 tariff subheadings with an annual trade value of

approximately $16 billion.

        25.      The $50 billion total trade value for List 1 and 2 matched the $50 billion in

estimated harm caused to U.S. businesses by China's unfair technology and IPR trade policies

and practices, as determined by the USTR in its report.

        26.      After the USTR finalized List 1 in mid-June 2018, President Trump warned

China that he would consider imposing additional tariffs/duties on Chinese goods if China

retaliated against the United States, i.e., a different basis for imposing Section 301

tariffs/duties other than the unfair technology and IPR trade policies and practices investigated

and reported on by the USTR that formed the basis of List 1 and 2.

        27.      On June 18, 2018, the USTR, acknowledging the President's directive, stated that

it would design newly proposed duties to address China's threatened retaliatory measures, rather

than any of the unfair technology and IPR trade policies and practices identified in its Section 301

investigation and report.




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        28.     Despite these warnings from Defendants, China retaliated by imposing 25% ad

valorem tariffs/duties on $50 billion in U.S. goods imposed in two stages of $34 billion and $16

billion on the same dates the United States began collecting its own 25% tariffs/duties under List 1

(July 6, 2018) and List 2 (August 23, 2018).

        29.     Approximately one week after China imposed its first round of retaliatory duties,

the USTR published notice of a new proposed action to impose an additional 10 percent ad

valorem duty on a new list of products from China with an annual trade value of approximately

$200 billion. In support, the USTR invoked Section 307(a)(l)(C) of the Trade Act, pursuant to

which the US1R may modify or terminate any action, subject to the specific direction, if any, of

the President with respect to such action, if such action is being taken under Section 301(b) and is

no longer appropriate. But, in its notice, the USTR confirmed that it had relied on China's

decision to impose retaliatory duties as the basis for its proposed new action, not on the unfair

technology and IPR trade policies and practices identified in the US1R's Section 301 investigation

and report. The USTR set a deadline of August 17, 2018 for initial comments, August 20-23, 2018

for a public hearing, and August 30, 2018 for rebuttal comments.

        30.     Shortly thereafter, former US1R Lighthizcr announced that the US1R would

propose to increase the additional duty from 10% to 25% ad valorem, once again in response to

China's retaliatory tariffs/duties, not its unfair technology and IPR trade policies and practices.

        31.     At approximately the same time, the USTR adjusted the deadlines for the

submission of written comments, setting September 6, 2018, less than a month later, as the new

deadline for both initial and rebuttal comments from the public. The adjustment, deviating from its

own past practices, prevented both the USTR and the public from considering the initial comments

presented at the hearing, and left insufficient time for interested parties to review and respond to

the initial comments filed by other parties. The US1R also limited each hearing participant to five

minutes. Nevertheless, approximately 350 witnesses appeared at the six-day hearing, and the public


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submitted over 6,000 comments. The USTR did not respond to any of the over 6,000 comments

that it received or address any of the testimony presented by roughly 350 witnesses .

          32.    On September 21 , 2018, the USTR published notice of the final list of products

subject to an additional duty, commonly known as "List 3." The USTR ultimately imposed

a 10% ad valorem tariff that was set to rise automatically to 25% on January 1, 2019. The

USTR determined that the List 3 duties would apply to all products on List 3 that enter the

United States from China on or after September 24, 2018.

          33.    As legal support for its List 3 action, the USTR cited Section 307(a)(l)(B) of

the Trade Act, which provides that USTR may modify or terminate any action, subject to the

specific direction of the President taken under Section 301 if the burden or restriction on

United States commerce of the denial of rights, or of the acts, policies, or practices, that are

the subject of such action has increased or decreased. The USTR also cited Section

307(a)(l)(C) of the Trade Act, asserting that China ' s response to the $50 billion tariff action

had shown that the current List 1 and List 2 actions were no longer as appropriate.

          34.    In May 2019, the USTR announced its intent to raise the tariff rate on List 3 goods

to 25%, effective either May 10, 2019 or June 1, 2019, depending on the day of export.

          35 .   The duties imposed on products covered by List 3 remain in effect as of the date of

this Complaint, with the exception of products which the USTR granted exclusions from the List 3

duties.

          36.    On May 17, 2019, a mere eight days after it published notice of its decision to

increase the duty rate on imports covered by List 3, the USTR announced its intent to proceed with

yet another list, "List 4," covering even more products subject to additional duties. Under the

USTR' s proposal, List 4 would impose an additional duty of 25% ad valorem, once again for

China's retaliation, not its unfair technology and IPR trade policies and practices.




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        37.    As with List 3, the USTR invited the public to comment on proposed List 4

and participate in a hearing. The public submitted nearly 3,000 comments. Despite the

opportunity to comment, the timeline for participation in the hearing left little room for

meaningful input because the USTR required witnesses to submit drafts of their testimony by

June 10, 2019, some seven days before the deadline for fully developed written comments,

and then it again limited witnesses to five minutes of testimony at the hearing.

        38.    On August 1, 2019, citing another new basis for action, namely China's failure to

follow through on agricultural purchases and to reduce exports of fentanyl flowing into the United

States, President Trump announced that the List 4 tariffs/duties would become effective September

1, 2019 at a rate of 10% ad valorem.

        39.    On August 20, 2019, the USTR issued a final notice adopting List 4 in two

tranches, List 4A and List 4B. List 4A would impose a 10% ad valorem duty on goods worth

roughly $120 billion, effective September 1, 2019. List 4B would impose a 10% ad valorem

duty on the remaining goods (with limited exclusions based on health, safety, national security,

and other factors), effective December 15, 2019. Once again, the US1R did not address any of the

nearly 3,000 comments submitted or any of the testimony provided by witnesses, other than to

vaguely claim without justification or support that its determination took account of the public

comments and the testimony.

        40.    As legal support for its action, the USTR again cited Section 307(a)(l )(B) and

(C) of the Trade Act, stating that it may modify its prior action pursuant to Section 301 of the

Trade Act.

        41.    Just ten days later, the US TR published notice of its decision to increase the tariff

rate applicable to goods covered by List 4A and List 4B from 10% to 15%. The USTR explained

that it increased the tariff rate because, shortly after it finalized List 4A and List 4B, China

responded by announcing further tariffs/duties on U.S. goods. The US1R once again cited to


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China's retreat from its negotiation commitments and devaluation of its currency, not its unfair

technology and IPR trade policies and practices, as grounds for its action.

         42.       On December 18, 2019, as a result of successfully negotiating a limited trade deal

with China, the USTR published notice that it would suspend indefinitely the imposition and

assessment of additional duties of 15 percent ad valorem on products of China covered by List

4B. The USTR also stated its intent to reduce the tariff rate applicable to products covered by

List 4A, an action that ultimately became effective on February 14, 2020, when the USTR

reduced the applicable duty rate by half to 7. 5 percent ad valorem.

         43.       The duties imposed on products covered by List 4A remain in effect as of the

date of this Complaint, with the exception of products which the USTR granted exclusions from

the List 4A duties. Although the proposed duties on products covered by List 4B remain

suspended. In 2021 Katherine C. Tai was confirmed as the new United States Trade

Representative.

                                    STATEMENT OF CLAIMS

                                            COUNT ONE

(DECLARATORY JUDGMENT-VIOLATION OF THE TRADE ACT OF 1974)

         44.       Paragraphs 1 through 43 are incorporated herein by this reference as though

set out in full.

         45.       The Declaratory Judgment Act authorizes any court of the United States to" declare

the rights and other legal relations of any interested party seeking such declaration, whether or not

further relief is or could be sought." 28 U.S.C. § 2201(a).

         46.       The Trade Act of 1974 does not authorize the actions taken by Defendants that

resulted in the imposition and assessment of List 4 tariffs/duties.

         47.       Pursuant to Section 301 of the Trade Act, the USTR may impose tariffs/duties

when it determines that an act, policy, or practice of a foreign country is unreasonable or


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discriminatory and burdens or restricts United States commerce, and action by the United

States is appropriate. 19 U .S.C. § 241 l(b) . The USTR failed to predicate its action giving rise

to List 4 on any such determination. Rather, the USTR imposed List 4 based solely on China' s

retaliation against List 1 and List 2 tariffs/duties, which is not an authorized justification

under Section 301 the Trade Act.

        48.    If the USTR concludes, upon investigation that a foreign country maintains

an unfair trade practice, Section 304 of the Trade Act requires the USTR to determine what

action, if any, to take within 12 months after the date on which the investigation is initiated.

19 U.S.C. § 2414(a)(l)(B), (2)(B). The USTR' s action giving rise to List 4 occurred in

August 2019, over a year after August 18, 2017, when the USTR initiated the underlying

Section 301 investigation.

        49.    Section 307 of the Trade Act does not permit Defendants to increase

tariffs/duties for reasons unrelated to the acts, policies, or practices that the USTR investigated

pursuant to Section 301 of the Trade Act. Contrary to Section 307, the USTR implemented List 4

based on China' s retaliation against List 1 and List 2 tariffs/duties.

        50.    Section 307 of the Trade Act does not authorize Defendants to increase tariff

actions that are no longer appropriate but only to delay, reduce, or terminate such actions in such

cases. Contrary to Section 307, the USTR increased tariffs/duties through the imposition of List 4.

        51.    Plaintiff is therefore entitled to a declaratory judgment that Defendants' actions

giving rise to List 4 are ultra vires and contrary to law.




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                                             COUNT TWO

           (VIOLATION OF THE ADMINISTRATIVE PROCEDURE ACT)

        52.     Paragraphs 1 through 43 are incorporated herein by this reference as though

set out in full .

        53.     The AP A authorizes the Court to hold unlawful and set aside agency action that

is: "(A) arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law;

(B) contrary to constitutional right, power, privilege, or immunity; (C) in excess of statutory

jurisdiction, authority, or limitations, or short of statutory right; (D) without observance of

procedure required by law; [or] (E) unsupported by substantial evidence." 5 U.S .C. § 706(2).

        54.     Defendants exceeded their authority under the Trade Act in promulgating List 4,

and thereby acted not in accordance with the law and in excess of statutory authority for the reasons

set forth in Count One.

        55.     Defendants failed to offer any evidence for any asserted increased burden from

China's intellectual property policies and practices that were the subject of the USTR's Section

301 investigation.

        56.     Defendants also promulgated List 4 in an arbitrary and capricious manner because

they did not provide a sufficient opportunity for comment, failed to meaningfully consider relevant

factors when making their decisions, and failed to adequately explain their rationale. Defendants'

predetermined decision-making resulted in the unlawful imposition and assessment of

tariffs/duties on Plaintiffs imports covered by List 4A.

                                           PRAYER FOR RELIEF

        Wherefore, Plaintiffs respectfully request that this court

        (1)         declare that Defendants' actions resulting in tariffs/duties on products covered by

                List 4 are unauthorized by, and contrary to, the Trade Act;




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        (2)    declare that Defendants arbitrarily and unlawfully promulgated List 4 in violation

               of the APA;

        (3)    vacate the List 4 rulemaking;

        (4)    order Defendants to refund, with interest, any duties paid by Plaintiff pursuant to

               List 4A;

        (5)    permanently enjoin Defendants from applying List 4 against Plaintiff and collecting

               any duties from Plaintiff pursuant to List 4;

        (6)    award Plaintiffs their costs and reasonable attorney fees; and

        (7)    grant such other and further relief as may be just and proper.



Dated: April 20, 2021                        Respectfully submitted,

                                             By:         /s/ Elon A Pollack, Esq
                                                        Elon A Pollack, Esq.
                                                        Stein Shostak Shostak & Pollack O'Hara
                                                        Attorneys for Plaintiff
                                                        865 S. Figueroa Street, Suite 1388
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                                                        e-mail: elon@steinshostak.com




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                                  CERTIFICATE OF SERVICE


        I am employed in the County of Los Angeles, State of California. I am over the age of 18
and not a party to the within action. My business address is 865 S. Figueroa Street, Suite 1388,
Los Angeles, California 90017.

        Pursuant to U.S . Court of International Trade Rule 4(b) and (h), I hereby certify that on

April 20, 2021, copies of Plaintiffs' Summons, Complaint, Information Sheet (Form 5) and

Disclosure of Corporate Affiliations, etc. (Form 13) were served on the following parties by

certified mail, return receipt requested:

 Attorney-In-Charge                                 Attorney-In-Charge
 International Trade Field Office                   Commercial Litigation Branch
 Commercial Litigation Branch                       U.S. Department of Justice
 U.S . Department of Justice                        P.O. Box480
 26 Federal Plaza                                   Ben Franklin Station
 New York, NY 10278                                 Washington, D.C. 20044


 General Counsel Greta Peisch                       Chief Counsel Scott K. Falk
 Office of the General Counsel                      Office of Chief Counsel
 Office of the U.S. Trade Representative            U.S. Customs & Border Protection
 600 17th Street, NW                                1300 Pennsylvania Ave., NW
 Washington, DC 20508                               Washington, DC 20229

                                                    Office of Chief Counsel
                                                    U.S . Customs and Border Protection
                                                    c/o Office of the Attorney in Charge
                                                    International Trade Field Office,
                                                    Commercial Litigation Branch.
                                                    U.S. Department of Justice
                                                    26 Federal Plaza
                                                    New York, NY 10278

       I declare that I am employed by a member of the bar of this court, at whose direction this
service was made.
       I declare under penalty of perjury of the laws of the United States of America that the
foregoing is true and correct.

       Executed on April 20, 2021, in Los Angeles, California.

                                                     /s/ Greg Manalac
                                                     Greg Manalac


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